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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
    Plaintiff,
 v.                                                   CRIMINAL NO. 20-cr-258 (FAB)
 RAFAEL PINA-NIEVES,
    Defendant.


                        MOTION FOR LEAVE TO FILE EXCESS PAGES

TO THE HONORABLE COURT:

        COMES NOW the defendant, RAFAEL PINA-NIEVES, through his undersigned counsel,

and respectfully requests the Court’s leave to file his contemporaneous Motion to Suppress with

length that exceed the limits imposed by the Local Rules. See PRD Local Rule 7. Mr. Pina-Nieves

respectfully proffers that the length of these motions is due to the complex nature of the arguments

raised therein and the fact that the affidavit and order that he is challenging are very lengthy, as well.

        WHEREFORE, Mr. Pina-Nieves respectfully requests the Honorable Court GRANT this

motion, with any additional relief it deems just.

        RESPECTFULLY SUBMITTED in San Juan, Puerto Rico, this February 25, 2021.

        WE HEREBY CERTIFY: That today we have electronically filed the foregoing document

with the Clerk of the Court for the District of Puerto Rico, using the CM/ECF system which will send

a copy and notification of filing to all counsel of record.

                                                         s/ Javier Micheo Marcial
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